                      Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 1 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                     IRUWKH

                                                    'LVWULFWRI&ROXPELD

                     DAVID HALL CRUM

                              Plaintiff

                                 Y                                             &LYLO$FWLRQ1R 20-cv-03241-DLF
            FEDERAL BUREAU OF PRISONS
                                                                                 WITHOUT PREPAYMENT OF COSTS
                            Defendant


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) FEDERAL BUREAU OF PRISONS
                                          Central Office Headquarters
                                          320 First Street, NW
                                          Washington, DC 20534




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3  D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH DAVID HALL CRUM
                                          05361-016
                                          F.C.I. BECKLEY
                                          P.O.Box 350
                                          Beaver, WV 25813


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                    ANGELA D. CAESAR, CLERK OF COURT


'DWH              12/09/2020                                                                     /s/ Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 2 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 20-cv-03241-DLF

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                              

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                       RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                    DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                          ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                       RQ(date)                          RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                  RU

           u 2WKHU(specify):
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           0\IHHVDUH                           IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                      Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 3 of 10

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                                                                      IRUWKH

                                                    'LVWULFWRI&ROXPELD

                     DAVID HALL CRUM

                              Plaintiff

                                 Y                                             &LYLO$FWLRQ1R 20-cv-03241-DLF
            FEDERAL BUREAU OF PRISONS
                                                                                 WITHOUT PREPAYMENT OF COSTS
                            Defendant


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) U.S. ATTORNEY
                                          Civil Division, 4th Floor
                                          501 3rd Street, NW
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH DAVID HALL CRUM
                                          05361-016
                                          F.C.I. BECKLEY
                                          P.O.Box 350
                                          Beaver, WV 25813


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                    ANGELA D. CAESAR, CLERK OF COURT


'DWH              12/09/2020                                                                     /s/Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 4 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 20-cv-03241-DLF

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                              

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                       RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                    DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                          ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                       RQ(date)                          RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                  RU

           u 2WKHU(specify):
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           0\IHHVDUH                           IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                      Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 5 of 10

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                                                                     IRUWKH

                                                    'LVWULFWRI&ROXPELD

                     DAVID HALL CRUM

                              Plaintiff

                                 Y                                             &LYLO$FWLRQ1R 20-cv-03241-DLF
            FEDERAL BUREAU OF PRISONS
                                                                                 WITHOUT PREPAYMENT OF COSTS
                            Defendant


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address)
                                          U.S. ATTORNEY GENERAL
                                          950 Pennsylvania Ave. NW
                                          Washington, DC 20001




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH DAVID HALL CRUM
                                          05361-016
                                          F.C.I. BECKLEY
                                          P.O.Box 350
                                          Beaver, WV 25813


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                    ANGELA D. CAESAR, CLERK OF COURT


'DWH              12/09/2020                                                                     /s/ Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 6 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 20-cv-03241-DLF

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
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           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                       RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                    DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                          ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                       RQ(date)                          RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                  RU

           u 2WKHU(specify):
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           0\IHHVDUH                           IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                      Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 7 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ


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                                                                     IRUWKH

                                                    'LVWULFWRI&ROXPELD

                     DAVID HALL CRUM

                              Plaintiff

                                 Y                                             &LYLO$FWLRQ1R 20-cv-03241-DLF
            FEDERAL BUREAU OF PRISONS
                                                                                 WITHOUT PREPAYMENT OF COSTS
                            Defendant


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) MURIEL BOWSER
                                          DC MAYOR
                                          1350 Pennsylvania Ave. NW
                                          Suite 316
                                          Washington, DC 20004



          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH DAVID HALL CRUM
                                          05361-016
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       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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                                                                                    ANGELA D. CAESAR, CLERK OF COURT


'DWH              12/09/2020                                                                     /s/ Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 8 of 10

$2b 5HY; DC 03/10 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 20-cv-03241-DLF

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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 ZDVUHFHLYHGE\PHRQ(date)                                              

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                       RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                    DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                          ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                       RQ(date)                          RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                  RU

           u 2WKHU(specify):
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           0\IHHVDUH                           IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

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                      Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 9 of 10

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                     DAVID HALL CRUM

                              Plaintiff

                                 Y                                             &LYLO$FWLRQ1R 20-cv-03241-DLF
            FEDERAL BUREAU OF PRISONS
                                                                                 WITHOUT PREPAYMENT OF COSTS
                            Defendant


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) DC ATTORNEY GENERAL
                                          441 4th Street NW
                                          Washington, DC 20001




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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                                          Beaver, WV 25813


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                                                                                    ANGELA D. CAESAR, CLERK OF COURT


'DWH              12/09/2020                                                                     /s/ Anson Hopkins
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 1:20-cv-03241-DLF Document 6 Filed 12/09/20 Page 10 of 10

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 &LYLO$FWLRQ1R 20-cv-03241-DLF

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                              

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                       RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                    DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                               DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                          ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                       RQ(date)                          RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                  RU

           u 2WKHU(specify):
                                                                                                                                               


           0\IHHVDUH                           IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
